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 2                                   UNITED STATES DISTRICT COURT
 3                                          DISTRICT OF NEVADA
 4                                                       ***
 5
     UNITED STATES OF AMERICA,
 6

 7
                            Plaintiff,
                                                           2:12-cr-00113-JCM-VCF
 8   vs.
                                                           REPORT AND RECOMMENDATION
 9   ARNOLD MYERS,

10                          Defendant.

11           Before the court is the Government’s Motion to Dismiss Criminal Information Without
12   Prejudice. (#247). On July 9, 2012, Defendant Myers entered a plea of guilty as to one count of
13   conspiracy to commit wire and mail fraud. On August 9, 2014, Defendant Myers died; thus, the
14   Government seeks to dismiss the criminal information without prejudice against Arnold Myers pursuant
15   to Federal Rules of Criminal Procedure 48(a). Id.
16           Accordingly,
17           IT IS HEREBY RECOMMENDED that Government’s Motion to Dismiss Criminal Information
18   Without Prejudice (#247) is granted.
19           Dated this 21st day of November, 2014.
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                                                                CAM FERENBACH
22                                                              UNITED STATES MAGISTRATE JUDGE

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